  Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 1 of 48




                                   STROJNIK. P.C.
                                 ATTORNEY AT LAW



                                      BY PROCESS SERVER


                                          Friday, June 3,2016

FIRSTBANK OF ARIZONA INC
c/o Jeffrey Asher- Its Statutory Agent
12345 W COLFAX AVE
LAKEWOOD, CO 80215
       Re: Fabian Zazueta v. FIRSTBANK OF ARIZONA INC
              Maricopa County SuperiorCourt

Dear Sir or Madam:

You are being served with the Summons, Verified Complaint, Certificate of Arbitration
and Discovery RequestNo.1 in the above captioned matter.

Please forward this package to your insurance company and your legal counsel if you have
and or retained such.

I look forward to hearing fromyou oryour legal representative at theearliest opportunity
so we may mutualy explore a feasible and economical resolutionto this matter.

Please note that all communication regarding all Enforcement Actions are performed solely
through email at the following e-mail address: 2425SGILBERTRD@aadi.org.

                                                     Sincerely,


                                                     Peter Strojnik
Ends:
  1. Summons
  2. Verified Complaint
  3. Certificate of Arbitration
  4. Discovery Request No. 1




                     1 E A S TW A S H I N G T O N S T R E E TS U I T E5 0 0     P H O E NA
                                                                                         I X8
                                                                                            Z, 5 0 0 4
                                            TEL: (774J768-AADI                (2234) ,




                                                  EXHIBIT A
 Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 2 of 48




     Peter Strojnik, State Bar No. 6464
1
     STROJNIKP.C.
2    1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
3    (774) 768-2234
4    Attorney for Plaintiff
     Case Specific Email Address:
5    2425SGILBERTRD@aadi.org
     www.aid.org
6
7
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
8
9                        IN AND FOR THE COUNTY OF MARICOPA

10
      Advocates for Individuals with Disabilities,
11
      Foundation, Inc.,
                                                      ^ CV2016-006905
12
                           Plaintiff,
13                                                                  SUMMONS
14
      vs.


                                                           iflpsllfi
15
      FIRSTBANK OF ARIZONA INC
16                   Defendants.
17
     TO THE ABOVE NAMED DEFENDANT(S):
18
19   YOU ARE HEREBY SUMMONED and required to appear and defend, within the time
     applicable, in this action in this Court, If served within Arizona, you shall appear and
20   defend within 20 days after the service of the Summons and Complaint upon you,
     exclusive of the day of service. If served out of the State of Arizona - whether by direct
21   mail, by registered or certified mail, or by publication - you shall appear and defend
22   within 30 days after the service of the Summons and Complaint upon you is complete,
     exclusive of the day of service. When process is served upon the Arizona Director of
23   Insurance as an insurer's attorney to receive service of process against it in this State, the
24   insurer shall not be required to appear, answer or plead until the expiration of 40 days of
     such service upon the Director. Service by registered or certified mail without the State
25   of Arizona is complete 30 days after the date of filing the receipt and affidavit of service
     with the Court. Service by publication is complete 30 days after the date of first
26   publication. Direct service by mail is complete when made. Service upon the Arizona
27   Motor Vehicle Superintendent is complete 30 days after the Affidavit of Compliance and
     return receipt of Officer's Return. RCP 4.1 and 4.2; A.R.S. §§ 20-222,28-502,28-503,
28
 Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 3 of 48




     YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
 1
     within the time applicable, judgment by default may be rendered against you for the
 2   relief demanded in the Complaint YOU ARE CAUTIONED that in order to appear
     and defend, you must file an Answer or proper response in writing with the Clerk
 3   of the Court accompanied by the necessary filing fee, within the time required, and
 4   you are required to serve a copy of any Answer or Response upon Plaintiffs
     attorney, or if Plaintiff is not represented by counsel, upon Plaintiff.
 5
     A request for reasonable accommodations for persons with disabilities must be made to
 6   the division assigned to the case by the parties at least three (3) days before the scheduled
     court proceeding.
 7
 8                             The name and address of Plaintiff is:

 9                 Advocates for Individuals with Disabilities Foundation, Inc.
                             40 North Central Avenue, Suite 1400
10                                    Phoenix, AZ 850QA
11
     SIGNED AND SEALED this date:
12
                                                        JUN -
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     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 4 of 48
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                                                            MICHAEL K. JEANES, Clerk
                                                            RV          QX2J,C"^-<—
                                                                      0 Deputy
      Peter Strojnik, State Bar No. 6464
 1                                                    0\TA W          Oorovpvx'.o y
      STROJNIK P.C.
2     1 EAST WASHINGTON STREET, SUITE 500
      PHOENIX, AZ 85004                                                  QcO9-c)~~I5^5
3     (774) 768-2234
4     Attorney for Plaintiff
      Case Specific Email Address:
5     2425SGILBERTRD@aadi.org
      www.aid.org
 6
 7                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF ARIZONA
8
9      ADVOCATES FOR INDIVIDUALS
       WITH DISABILITIES FOUNDATION,                     Case No:
10                                                                   CV 2 0 1 6 - 0 0 6 9 0 5
       INC., a charitable non-profit foundation,
11
                             Plaintiff,                        VERIFIED COMPLAINT
12

13
       vs.
14
       FIRSTBANK OF ARIZONA INC;
15
16                           Defendant.

17           Plaintiff alleges:

18                                                PARTIES
       1.    Plaintiff,   Advocates       for   Individuals with     Disabilities     Foundation,   Inc.
19
             ("Foundation") is a non-profit charitable foundation. See www.aid.org.
20
             Defendant, FIRSTBANK OF ARIZONA INC, owns and/or operates a business
21
             located at 2425 S Gilbert RD Gilbert AZ 85295 which is a place of public
22           accommodation pursuant to 42 U.S.C. § 12181(7)(A) which offers public lodging
23           services.
24
25
                                            INTRODUCTION
26      3.   Plaintiff brings this action against Defendant, alleging violations of Title III of the
27           Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., (the "ADA") and its

28
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 5 of 48




            implementing regulations and A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et
 1
            seq. and its implementing regulations, R10-3-401 et seq. (the "AzDA")
 2
       4.   Plaintiff is a charitable non-profit foundation. Plaintiff is known to have past,
3
            present and future relationships or associations with individuals with disabilities as
4
            defined in 28 CFR § 36.205. In connection with 28 CFR §36.205, and generally
 5
            relating to third-party standing, Plaintiff alleges:
 6
            a.    Plaintiff has a close relationship with former, current and future disabled
 7                individuals who are directly protected by the ADA as discrete and insular
8                 minorities. See, e.g., www.aid.org.
 9           b.   Plaintiffs association with former, current and future disabled individuals
10                arises from Plaintiffs charitable acts of giving to the disabled community,
11                which are interests that are germane to the association's purpose.

12          c.    Plaintiffs close relationship to the third party disabled individuals is such

13                that a third party disabled individuals cannot be reasonably expected to
                  properly frame the issues and present them with the necessary adversarial
14
                  zeal to the Court. Third party disabled individuals are hindered to litigate by
15
                  virtue of their status as minors and/or their lack of mobility and/or financial
16
                  resources.
17
            d.    Because only injunctive and declaratory relief is requested, participation in
18
                  the action by individual disabled individuals is not required.
19
       5.   Plaintiff brings this civil rights action against Defendant for failing to design,
20          construct, and/or own or operate public accommodations that are fully accessible
21          to, and independently usable by, disabled people. Plaintiff seeks a declaration that
22          Defendant's public accommodation violates federal law and an injunction
23          requiring Defendant to install means of access in compliance with ADA
24          requirements so that their facility is fully accessible to, and independent usable by,

25          disabled individuals. Plaintiff further requests that, given Defendant's historical

26          failure to comply with the ADA's mandate, the Court retain jurisdiction of this

27          matter for a period to be determined to ensure that Defendant comes into
            compliance with the relevant requirements of the ADA, and to ensure that
28
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 6 of 48




            Defendant has adopted and is following an institutional policy that will, in fact,
 1
            cause Defendant to remain in compliance with the law.
 2
       6.   In compliance with R10-3-405(H)(l), Plaintiff's address is 40 North Central
3
            Avenue, Suite 1400, Phoenix, Arizona 85004
 4
                                    JURISDICTION AND VENUE
 5
       7.   jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42 U.S.C. §
 6
            12188.
 7      8. Plaintiff's claims asserted herein arose in this judicial district and Defendant does
 8          substantial business in this judicial district.
 9      9. Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c) in that
10          this is the judicial district in which a substantial part of the acts and omissions
11          giving rise to the claims occurred.

12                  THE ADA AND ITS IMPLEMENTING REGULATIONS
13      10. On July 26, 1990, President George H.W. Bush signed into law the ADA, a

14          comprehensive civil rights law prohibiting discrimination on the basis of

15          disability.
        11. The ADA broadly protects the rights of individuals with disabilities in
16
            employment, access to State and local government services, places of public
17
            accommodation, transportation, and other important areas of American life.
18
        12. Title III of the ADA prohibits discrimination in the activities of places of public
19
            accommodation and requires places of public accommodation to comply with
20
            ADA standards and to be readily accessible, and independently usable by,
21
            individuals with disabilities. 42 U.S.C. §§ 12181-89.
22       13. Title III states, inter alia, that "[i]t shall be discriminatory to afford an individual
23          or class of individuals, on the basis of a disability . . . with the opportunity to
24          participate in or benefit from a good, service, facility, privilege, advantage, or
25          accommodation that is not equal to that afforded to other individuals." See 42
26           U.S.C.       §12182(b)(1)(A)(ii).    In    addition,     §12182(b)( 1)(A)(iii)      and

27          § 12182(b)( 1 )(B)] are intended to prohibit exclusion and segregation of individuals

28          with disabilities and the denial of equal opportunities enjoyed by others, based on,
                                                3
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 7 of 48




           among other things, presumptions, patronizing attitudes, fears, and stereotypes
 1
           about individuals with disabilities. 28 C.F.R. pt. 36, app. C (2011).
2
        14. On July 26, 1991, the Department of Justice ("DOJ") issued rules implementing
O
J
           Title III of the ADA, which are codified at 28 CFR Part 36.
4
        15. Appendix A of the 1991 Title III regulations (republished as Appendix D to 28
5
           CFR part 36) contains the ADA standards for Accessible Design (1991 Standards),
6          which were based upon the Americans with Disabilities Act Accessibility
7          Guidelines (1991 ADAAG) published by the Access Board on the same date.
8       16. In 1994, the Access Board began the process of updating the 1991 ADAAG by
9          establishing a committee composed of members of the design and construction
10         industries, the building code community, and State and local governmental

11         entities, as well as individuals with disabilities.

12      17. In 1999, based largely on the report and recommendations of the advisory

13         committee, the Access Board issued a notice of proposed rulemaking to update
           and revise its ADA and ABA Accessibility Guidelines.
14
        18. The Access Board issued final publication of revisions to the 1991 ADAAG on
15
           July 23, 2004 ("2004 ADAAG").
16
        19. On September 30, 2004, the DOJ issued an advanced notice of proposed
17
           rulemaking to begin the process of adopting the 2004 ADAAG.
18
        20. On June 17, 2008, the DOJ published a notice of proposed rulemaking covering
19
           Title III of the ADA.
20      21. The long-contemplated revisions to the 1991 ADAAG culminated with the DOJ's
21         issuance of The 2010 Standards for Accessible Design ("2010 Standards"). The
22         DOJ published the Final Rule detailing the 2010 Standards on September 15,
23         2010. The 2010 Standards consist of the 2004 ADAAG and the requirements
24         contained in subpart D of 28 CFR part 36.

25                 THE AzDA AND ITS IMPLEMENTING REGULATIONS
26      22. The AzDA and its implementing regulations, §§41-1492 et seq. and R10-3-401 et

27         seq. provide similar prohibitions and remedies to the ADA and its implementing

28         regulations.
                                               4
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 8 of 48




 1                       ALLEGATIONS COMMON TO ALL COUNTS
        23. Pursuant to CFR 36-302(1 )(ii) and otherwise, on or about 4/11/2016, Plaintiff,
 2
            who is known to have a relationship or association with individuals with
 3
            disabilities, conducted an investigation into Defendant's public accommodation
 4
            for purposes of ascertaining whether it complies with the ADA. Plaintiffs
 5
            investigation confirmed that Defendant's public accommodation was not
 6
            accessible to individuals with disabilities in the following particulars:
 7
              1. Violation of the 2010 ADA Standards of Accessibility Design §§216.5 and
8             502.6 in that it fails to identify van parking spaces by the designation "van
 9            accessible" and or fails to maintain the minimum height of 60 inches (1525 mm)
10            above the finish floor
11          Plaintiff has actual knowledge of at least one barrier related to third party disabled
12          individuals as indicated in the preceding allegation. Therefore, third party

13          individuals with disabilities are currently deterred from visiting Defendant's

14          public accommodation by accessibility barrier(s). Upon information and belief,

15          there are other potential violations and barriers to entry that will be discovered and
            disclosed during the discovery and disclosure process.
16
         24. Without the presence of adequate handicapped parking spaces, sufficient
17
            designation or signage and or sufficient disbursement of such parking spaces, third
18
            party individuals with disabilities are prevented from equal enjoyment of the
19
            Defendant's Public Accommodation.
20
         25. As a result of Defendant's non-compliance with the AzDA and the ADA, third
21
            party individuals with disabilities will avoid and not visit Defendant's Public
22          Accommodation in the future unless and until all AzDA and ADA violations have
23          been cured.
24       26. The existence of barriers deters third party individuals with disabilities from
25          conducting business or returning to Defendant's Public Accommodation. Upon
26          information and belief, other disabled persons are also deterred from visiting there

27          or otherwise precluded from frequenting Defendant's Public Accommodation due

28          to its non-compliance with the AzDA and the ADA .
                                             5
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 9 of 48




         27. As a result of Defendant's non-compliance with the ADA, third party disabled
 1
            individuals, unlike persons without disabilities, are denied equal access.
 2
         28. Upon information and belief, though Defendant may have centralized policies
 3
            regarding the management and operating of its hotel, Defendant does not have a
 4
            plan or policy that is reasonably calculated to make its entire facility fully
5
            accessible to and independently usable by, disabled people.
6
         29. Plaintiff verified that Defendant's Public Accommodation lacks the mandatory
7           elements required by the 2010 Standards to make their facility fully accessible to
 8          and independently usable by disabled people.
9        30. Plaintiff has a keen interest in whether public accommodations are fully accessible
10          to, and independently usable by, individuals with disabilities, specifically
11          including an interest in ensuring that parking spaces comply with the 2010

12          Standards.

13       31.Third party disabled individuals have been injured by Defendant's discriminatory

14          practices and failure to remove architectural barriers to equal access. These
            injuries include being deterred from using Defendant's facilities due to the
15
            inaccessibility and/or insufficient designation of appropriate parking .
16
         32. Without injunctive relief, Plaintiff and others will continue to be unable to
17
            independently use Defendant's Public Accommodation under ADA and AzDA.
18
                                               COUNT ONE
19                                     (Violation of Title III of ADA)
20       33. Plaintiff incorporates all allegations heretofore set forth.
21       34. Defendant has discriminated against third party disabled individuals and others in

22          that it has failed to make its public accommodation fully accessible to, and

23          independently usable by, individuals who are disabled in violation of AzDA,

24          Article 8, Chapter 10 of Title 41 of the Arizona Revised Statutes, A.R.S. §§41-
             1492 et seq. and its implementing regulations, R10-3-401 et seq. and the ADA,
25
            Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., and
26
             its implementing regulations 28 CFR §§ 36.101 et seq.
27
28
                                                 6
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 10 of 48




          35. Defendant has discriminated against third party disabled individuals in that it has
 1
             failed to remove architectural barriers to make its Public Accommodation fully
 2
             accessible to, and independently usable by individuals who are disabled in
 3
             violation of the AzDA and the ADA and, particularly, 42 U.S.C. §12182(b)(A)(iv)
4
             and Section 208.2 of the 2010 Standards, as described above. Compliance with the
5
             requirements of section 208.2 of the 2010 Standards would neither fundamentally
6
             alter the nature of Defendant's Public Accommodation nor result in an undue
 7           burden to Defendant.
8         36. Compliance with AzDA and the ADA is readily achievable by the Defendant due
9            to the low costs. Readily achievable means that providing access is easily
10           accomplishable without significant difficulty or expense .
11        37. Conversely, the cessation of compliance with the ADA law is also readily

12           achievable by redrawing the parking spaces to its original configuration and or

13           changing signage back to the same. Therefore, injunctive relief should issue

14           irrespective of Defendant's potential voluntary cessation pursuant to the Supreme
             Court's announcement in Friends of the Earth case1.
15
          38.Defendant's conduct is ongoing, Plaintiff invokes Plaintiffs statutory right to
16
             declaratory and injunctive relief, as well as costs and attorneys' fees, both pursuant
17
             to statute and pursuant to the Private Attorney General doctrine .
18
          39. Without the requested injunctive relief, specifically including the request that the
19
             Court retain jurisdiction of this matter for a period to be determined after the
20
             Defendant certifies that it is fully in compliance with the mandatory requirements
21

22    1 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
23    693, 145 L.Ed.2d 610 (2000):
             It is well settled that a defendant's voluntary cessation of a challenged practice does not
24           deprive a federal court of its power to determine the legality of the practice. If it did, the
             courts would be compelled to leave the defendant free to return to his old ways. In
25
             accordance with this principle, the standard we have announced for determining whether a
26           case has been mooted by the defendant's voluntary conduct is stringent: A case might
             become moot if subsequent events made it absolutely clear that the allegedly wrongful
27           behavior could not reasonably be expected to recur. The heavy burden of persuading the
             court that the challenged conduct cannot reasonably be expected to start up again lies with
28           the party asserting mootness.
                                                       7
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 11 of 48




            of the AzDA and ADA that are discussed above, Defendant's non-compliance
 1
            with the AzDA and ADA' mandatory requirements may be or are likely to recur.
 2
                                             COUNT TWO
 3              (Violation A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et seq. AND
 4                                    Implementing Regulations)

 5
         40. Plaintiff realeges all allegations heretofore set forth.
 6
         41. Plaintiff has been damaged and injured by the Defendant's non-compliance with
 7          the AzDA.
 8       42. Pursuant to A.R.S. § 41-1492.08, and §41-1492.09, plaintiff has the right to
 9          enforce the AzDA by the issuance of injunctive relief.
10       43. Pursuant to A.R.S. § 41-1492.08, Plaintiff is entitled to preventive and mandatory
11          relief.

12       44. Mandatory relief includes relief mandated by A.R.S. § 41-1492.09 obligating the

13          Office of the Attorney General to take actions specified therein.

14       45. Pursuant to A.R.S. § 41-1492.09(B)(2), Plaintiff is further entitled to such other
            relief as the Court considers appropriate, including monetary damages in an
15
            amount to be proven at trial, but in no event less than $5,000.00.
16
         46. Pursuant to A.R.S. § 41-1492.09(F), Plaintiff is entitled to attorney's fees and costs
17
            in an amount proven but in no event less than $5,000.00.
18
                                           PRAYER FOR RELIEF
19
            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
20
              a. A Declaratory Judgment that at the commencement of this action Defendant
21                was in violation of the specific requirements of Title III of the ADA described
22                above, and the relevant implementing regulations of the ADA, in that
23                Defendant took no action that was reasonably calculated to ensure that its
24                Public Accommodation was fully accessible to, and independently usable by,
25                individuals with disabilities ;

26            b. Irrespective of Defendants "voluntary cessation" of the ADA violation, if

27                applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and
                  28 CFR § 36.504(a) which directs Defendant to take all steps necessary to
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                                           8
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 12 of 48




                bring its public accommodation into full compliance with the requirements
 I
                set forth in the ADA and its implementing regulations, so that the facility is
 2
                fully accessible to, and independently usable by, disabled individuals,
 3
                specifically Sections 208.2 of the 2010 Standards, and which further directs
 4
                that the Court shall retain jurisdiction for a period to be determined after
 5
                Defendant certifies that its facility is fully in compliance with the relevant
 6              requirements of the ADA to ensure that Defendant has adopted and is
 7              following an institutional policy that will in fact cause Defendant to remain
 8              fully in compliance with the law;
 9           c. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
10              applicable, payment of costs of suit, expenses of suit and attorney's fees;
11           d. Order closure of the Defendant's place of public accommodation until

12              Defendant has fully complied with the ADA and AzDA;

13           e. A Declaratory Judgment that at the commencement of this action Defendant
                was in violation of the specific requirements of AzDA;
14
             f. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
15
                applicable, a permanent injunction pursuant to AzDA which directs
16
                Defendant to take all steps necessary to bring its facility into full compliance
17
                with the requirements set forth in the AzDA, and its implementing
18
                regulations, so that the facility is fully accessible to, and independently
19
                usable by, disabled individuals, specifically including ensuring parking
20
                spaces comply with the 2010 standards as required by law, and which further
21              directs that the Court shall retain jurisdiction for a period to be determined
22              after Defendant certifies that its facility is fully in compliance with the
23              relevant requirements of the AzDA to ensure that Defendant has adopted and
24              is following an institutional policy that will in fact cause Defendant to remain
25              fully in compliance with the law;

26           g. For damages authorized by § 41-1492.09(B)(2) in an amount no less than

27              $5,000.00;

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                                              9
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 13 of 48




               h.   Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 1
                    applicable, payment of attorneys' fees pursuant to 42 U.S.C. § 12205, 28
2
                    CFR § 36.505 and A.R.S. § 41-1492.09(F) and other principles of law and
3
                    equity and in compliance with the "prevailing party" and "material
 4
                    alteration" of the parties' relationship doctrines2 in an amount no less than
 5
                    $5,000.00; and,
6
               i.   The provision of whatever other relief the Court deems just, equitable and
 7                  appropriate.

 8                                   DEMAND FOR JURY TRIAL
                     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff
9
             hereby demands a jury trial on issues triable by a jury.
10
             RESPECTFULLY SUBMITTED this Friday, June 3, 2016.
11
                                                 STROJNIK P.C.
12

13
                                                  Peter~5trojnik (6464)
14                                                Attorneys for Plaintiff

15                       VERIFICATION COMPLIANT WITH R10-3-405
16           I declare under penalty of perjury that the foregoing is true and correct.
17           DATED this Friday, June 3, 2016.
18
               f>f7<z$icui *%<Vfuetci
19           By: Fabian Zazueta, Authorized Agent
             Advocates for Individuals with
20
             Disabilities Foundation, Inc.
21

22
23
24
25
26
      2 As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-3813 JGB (RNBx)
27
      (February, 2015)
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     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 14 of 48




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                                      EXHIBIT 1
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                                       11
                   Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 15 of 48

 XJS. Department of Justice
'Civil'Rights Divisioa
•Disability Right: Secnafl




        Americans with Disabilities Act.


^
                                           Restriping Parking Lots
      AccessjbSe Parking Spaces
                           p'^Sn^;IoC;;it mastaccessible
     -pamheispacessas
      r'" '         - -requuedby
                        • t- -- -~*A  dieADA
                                     «w* - -- ~ •* - -•Stahttods-for
                                                        "V-%       k-fAcc^iible
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      Iil'additi6ixb«smessessdr;jMit-ately>owzLedfaciljtties'that provide goods'ori
     ;services>io thepublic/have a continning ADA obligation-to:remove
      bamers^toaccessin existmg paittng lots whenifisreaddy.achievable. to.
     ?'clo.so. B^aTise.^resfcping[is.rela&vely m^penawi. it isreadily.
     "acKevable in. jHosVcases.
                                                                                                        One of eight accessible parking
     'This ^3A'BiK^ess:Bne|i^oyide^^y^'iSoraStLcMi' abobt howi tajr'create •                            spaces, but always at least one/
     accessible'car'a^ van^"spacesand how inany ^aces tb prbyide'whm'                                      must be "van accessible.
     parking-lots -are reshaped;.

  Accessible Parking Spaces"
  for Cars
  Accessible parking"spaces' for' cars
                                                            Minimum Number of-Accessible .Parking Spaces
  have at least a 60-irtch-wide access                                ADA Standards, for Accessible Design 4.1.2 {5)
  aisle located'adjacent to the
• designated parking space,-- The                  Total Number"       ]" Total Minimum             Van-Accessible.             Accessible
  access aisle is just wide enough to'-             of Parking         '    /Numberof"              Parking Spaces               Parking
  permit a person using a wheelchair to'              Spaces;           I   .Ac^sstble               with min. 96"             Spaces with
  enter or exit the car,-' "These parkins'.          Provided          :   Parking'Spaces-/          -wide access              min. 60" wide
                                                     {per lot)         ! '{60'A.96" austes)              aisle                 access aisle
• spaces are identified with'a sigh and
.-located on.level ground.                                             ;       Column A
Van-Accessible Parking Spaces                     •1 .to 25/           i            1          .-                        I            0           .
Van-accessible parking spaces are" the            26 to 50             ">           2                       1            I            1
same, as accessible parking spaces-for            51 to 75      ,      /            3                       1          U             .2            -
cars except for three features .needed            76to 100       ..    I            4                       1-         II             3'          .
                                                   101 to .150.        ;             5                      1          ||             4
for vans:.'
                                                  •151 to 200          l             6                      1          i)             5-
                                                  201 to 300           ;             7                                  I             6-
s    a wider access aisle (96^) to .              301 .to 400.          1            8                     1                          7
     accommodate-a wheelchair lift;               401 to 500" -        I             9         1           2.          ' •'           7
                                                  501 to 1000/          t      '2%;dftotal
B    vertical clearance;to;accoramo-                                   1    .parking provided'      1/8 of.Column A*          7/8 of Column A**
     dhte'.vah height,at the van-part­                                 ;       in"each"lot
     ing space, the adjacent access                •1001 and oyer       •      20ptas;ifor
     aisle, and on the vehicular route                                 .'      '•each.lpO;;         1/8 of.Column A*          7/8 of Column A"
     to add frbm.the van-accessible!                                   !       -.oyer 1000/
     space, and-
                                                    * one out of every 8 accessible spaces          ** 7 out of'every 8 accessible parting spaces
•    an addhtionil'sign that identifies,
     the parking spaces as;~vah.                                                                                                                       .
     accessible."                                                                                                                      October. 2001




                    II
              II
             Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 16 of 48

  Location                                    Features of.Accessible Parking Spaces for Cars
  Accessible parking'spaces must be
  located on the shortest accessible                  — Sign with the international symbol of accessibility mounted high
                                                        enough so it canbe seen 'while a vehicle is parked in the space.
• routeof.travel to an accessible                                 c"
.'facility.entran.ee. Where 'buildings                  • If.the accessible routets Ipcatedln front of the'space, install
  have multiple.accessible entrances-                     wheelstops to keep vehicies-from reducing width below 36 inches.
  with adjacent parking the accessible
  parking spaces'.must be.dispersed and                 accesEibie routs <rnin.364raii'vBdltii         .               .      •
  located closest to the accessible"
                                                        1- tt HQBB tva t «J 5 8 B BBKCnEBBC
                                                                                        .   \i— Access
                                                                                                 - <   .aisle
                                                                                                        , •   of at least 60-irich
                                                                                                                           .•      width
  entrances.                                                                        :    - j must be level {1:50 maximum slope
                                                                                             in all directions), be the same length
 When accessible parkiiig spaces are:                                                        asthe.adjacent parking space(s) it
 added in an existing parking lot,                                                           serves and must connect to ah
 locate the spaces on the most level                                                         accessible route to the building,.
                                                            mt:
.•ground close.to the accessible en­                        mil                              Ramps must not extend into die
                                                            mt:                              access aisle.
 trance. An accessible route must
 always be provided from the acces­
                                                                                                  Boundary of the access aisle must be
 sible parking to.the accessible'
 entrance. An accessible route never--                                             T              marked. The end may be a squared or
                                                                                                 'curved sh a pa.
 has curbs or stairs, must be at least 3-
 feet .wide, and has a firm, stable: slip-                     mir^ 96" mln.
                                               |^"S6" min [SO* mil                       L Two parking spaces may share an
 resistant surface. The slope along the       ^     2440    1   1525-'     2440                  .access aisle.
•accessible route should not be greater..
 than.l:12 in the direction of travel.       Tfi ree Additional Features for Van-Accessible Parking Spaces
                                                           Sign with "van accessible" and the international symbol of
-Accessible parking spaces'may be                          accessibility moiinted'high enough.so the sign can be seen
  clustered in one of more lots if                         when a vehicle is parked In the space
  equivalent or greater accessibility is                    accessible route
  provided in terms of distance from                    DQEi^gPEn.aQQiaDrLptjffl mi
  the accessible entrance, parking fees,­
- and convenience. Van-accessible
  parking;spaces located in parking                                                              96" mln. width access aisle, level
 •garaaes'may be. clustered on-one floor                                                         (max. slope 1:50 in all directions);
                                                                                                 located beside the van parking.space;
  (to accommodate the.9S-inch mini;
  mum vertical height requirement).                                                              Min. 98-inch-high clearance at van
                                                                                                 parking space,.access aisle, and on
Free Technical Assistance                                                                        vehicular route to and from van space
Answers to technical and general
questions about restriping parking '
lots or other. ADA requirements are
available fry telephone on weekdays:
You may also.order the ADA         '
Standards for;Accessible' Design and
other ADA jmblications, including,             ADA Website and ADA Business Connection
regulations.fpr'private businesses, at       •Tipu may also,view or dowifioad'ADAmfomiation on the Department's ADA
any time day or night. Information             website abahy timer The'site'prbvides-access to the ADA Buaness.-;
about ADA-related IRS tax credits              Connection and the ADA design standards, ADA regulations, ADA policy
and deductions is'also'available1 from       • letters, technical assistancematerials, and general ADA information! It also
the ADA Information Line.                    . provides links to other Federal agenc.ies.-and updates on new ADA require­
                                               ments and enforcement efforts, vvww.usdoj.gbv/crt/ada/adahoml,htm
        Department of Justice
      ADA Information Line                     Reference:
                                             •ADA Standards for Accessible Design (28 CFR Part 36):#
        800-514-0301 (voice)
                                             '.§ 4.1:6 Alterations: -§ 4.1.2 Accessible.Sites and Exterior Facifitiesi.New
         800-514-0383 (TTY)
                                                   . Construction;, § 4,611 Parking"and Passenger Loading Zones: and
                                               §4:3   Accessible.Route..       -
page 2 of2                                     J                                                        Duplication is encouraged.
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 17 of 48




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13                                    EXHIBIT 2
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                   Case
                   II   2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 18 of 48
IDS'. Bepsrtansi} of Justice.
Civil Riafct; Division
Disability Right: Section:




ADA
Design Guide                                JRestriping Parking Lots-

Accessible Parking Spaces
When a business, State or local-        .   Van-Accessible Parking Spaces,
government agency*'or other covered          Van-accessible parking spaces' are               One of eight accessible parking:
entity-restripes a parting lot, it must      the:same;as accessible parking                   spaces,but.ahvaysat least onermust-
'provide accessible parking- spaces as      '•spaces for'tars except for three fea­           be van-accessible.,
required by the ADA Standards for            tures needed for vans':
Accessible Design . Failure to;'do .so
would violate -the ADA.                     •     a wider' access aisle (96~j to
                                                  accommodate, a wheelchair lift;.
In addition, businesses or.privately        •     vertical clearance to accommo­
owned facilities that provide goods •             date ran height at the van park­
or services to the public have a                  ing space: the adjacent access
cdihiriuihg ADA obligation to.,                   aisle;=and on the vehicular route-
remove barriers to access, in existing            to and'fiom the van-accessible
parking lots when,it-is readily                   space..and
achievable to do-'so. Because               •     an'adthtionalsign ihaf'identifies.
reshaping ;is relatively. inexpensive, it         the parking spaces as'"van
is readily achievable in most.cases.              accessible.!


key information about how to create
accessible car-and van spaces and'                     Minimum Number, of Accessible Parking Spaces
how many spaces to. provide                                      '    ADA Standard!fbrAccessibie Dpvi'tn 4.1'.2 (5) '          ' "
when parking lots
are reshaped.
                                             Total Number            To^Mininurm-          Van Accessible           -Accessible
                                              of Parking                Niimbercf          Parking Spaces             Parking
                                                spaces'                ^Acce^ifioj          with mm. 96"            Spaces with
                                               Provided              'Parking'•Spaces        wide access           min. 60" wide
                                                (per lot).           (60"-& 96" aisles)         aisle              .access aisle.

                                                                      • Column A-
                                             1 to 25
                                             26 to 50                        2*
                                             51 to 75.. .
                                             76.to.100                       -4:
                                             101 to-150                       5'
Accessible                                   151 to 200 .                    .6^
Parking Spaces for Cars                      201to 300                                                                    .6
Accessible parking spaces for cars           301 to 400                      8
have at least;a 60-inchvwide access          401 to 500                                                                    7
aisle located adjacent to the desig­         501 to 1000                2% of.total ^
nated parking space.. The.access                                     parkihgprovicjed •    1/8 of Column A"       7/8 of Column A**
aisle:is just. wide, enough to permit a                                 in'eacti-iok
person using a wheelchair to enter.or        1001 and over            •20 pkrik-fof
exit the car.. These parking spaces                                      sacb'100
                                                                        .* fr": .-'-A
                                                                                           1/8 of Column A*       7/8 of Column A"
are identified with a sign and located,                                 over .1000
on level ground-                                * ona cut of every 8 access/Ms spaces     " 7 out of every 8 accessible'parking.spaces'

page l,bf 2
                  Case
                  II   2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 19 of 48

LocatioH                                   Features of Accessible Parking Spaces for Cars
Accessible parking spaces miist be-'
 located on trie shortest accessible                —'Sigh wfth the internationalsymboi of accessibility mourited high
 route of travel to as accessible facil­              enough so it can'be seen while a vehicieis parked in the space.
ity, entrance. Where buildings have
multiple accessible entrances with                    |- If the.accessibie route is located in froht.of the. space, iristan .
adjacent parking, the accessible                         wheelstbps to.keep vehicles from reducing width below 36 inches.
parting spaces nmst be dispersed
and located closest to the accessible                     accessibls route (nan. 36-inch width)
entrances.                                     • • c £s_r b t b a a c C-gcc • nn.p • ••bbbbbb"
                                                                        —:         '^               Access aisle of at least'60-inch width
When accessible parking'spaces are                                                                  must be level (1:50 maximum slopein
added in an'existing parking lot,,                                                                  at! directions), be the same length as
locate the .spaces on the most level                                                                the adjacent parking spaee(s) jt
ground close to the accessible, en­                                                                 serves:and must "connect to an ac­
trance;' An accessible.route must al­                                                               cessible route tothebuildihg. Ramps
ways be provided from the'acces­                                                                    must hot extend into the access aisle.
sible parking to the.accessible en­                                                                 Boundary of the access'.'aisle fnust be
trance. An accessible route never
has curbs or stairs, must be at least 3-            t                              I                marked... Theend may be a squared'
                                                                                                    orcurved shape.     -•••••­
feet wide, and has'a firm,'stable, slip-
resistant surface; The-slope along            , 96" min .'sO'min 96" min.                           Two parking spaces rriay share an
the accessible route should hot be                2440:'      1525         2440
                                                                                   "7               access aisle:- '        "
greater than 1:12 in the.direction of
traveli

Accessible parking spaces may be           Three Additional Features for Van-Accessible Parking Spaces
clustered in one or more, lots if
equivalent or greater accessibility is                  — Sign with "van accessible" and the international symbol of'
provided in terms of distance from                        accessibility'mounted high enough "so the'sign can be seen when
the accessible entrance, parking fee's,                   a vehicle is parked in the space
and convenience; Van-accessible                            accessibte route
paiking spaces located in parking ga­                 Ml Bon,®                da     a   o o Qo o
rages may'be clustered on one floor
(to accommodate fire. 98-inch mini­
mum vertical height requirement).                                                                   96" min: width access aisle, level
                                                                                                    {max.'slbpe f:50 in all directions), [ch­
                                                                                                    eated beside the van.parking space
Free: Technical Assistance                                                                          Min. 93-inch-high clearance at van
Answers to technical.and general                                                                    parldng.space, access.aisle, and on
qiieshor^ about restripirg parking lots                                                             vehicular route.to and frorrrvan space.
or otherADA requirements are avail­
able by telephone on weekdays. • You
may also order; the ADA Standards for
Accessible Design and other ADA                .96" min. /96" rhin. j^96" min.
publications, including regulations for           2440           2440           2440
private-businesses or State and local
governments, at any time day or night:1
Information about ADA-related IRS
tax credits and deductions is also         Internet                                                 Reference:
available from the ADA Information         You may also review or download                          ADA Standards for Accessible-;
Line;                                      information bathe Depanment's                            Design (28 CFR Part 36):
                                           ADA Internet,site at any time. The -
        Department of Justice              site providesaccess to ADA regula­                          § 4:1.6 Alterations;
                                           tions, technical assistance- materials,                    § 4.1.2 Accessible Sites and Exte7
   •ABA Information Line                   and general ADA mfonriatiori. It                           rior Facilities: New Coostnictipn,.
                                           also provides links to other Federal                       and "
      SO0-514-0301 (voice)                 agencies; and updates on new ADA                           '§ 4.1.6 Parking and Passenger.
                                           requirements aodenforcemect                                Loading Zones.;
       800-514-0383 (ttf)                  efforts; Internet address":
                                           u w w.nsdoj. gov/cr t/ada/a daboml-h to
page. of 2                                                                                          Duplication of this document is encouraged.-


                 II
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 20 of 48


                                                          B^Ar\{Lck,C/^v-

                                                                   FILED
      Peter Strojnik, State Bar No. 6464
 1
      STROJNIK P.C.                                        16JUN- 9 PH 2 : ^ '
 2    1 EAST WASHINGTON STREET, SUITE 500
      PHOENIX, AZ 85004
 3    (774) 768-2234
 4    Attorney for Plaintiff
      Case Specific Email Address:
 5    2425SGILBERTRD@aadi.org
      www.aid.org
 6
 7
                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
9                        IN AND FOR THE COUNTY OF MARICOPA

10
       Advocates for Individuals with Disabilities
11
       Foundation, Inc.,                             CaseNo:     CV 2 01 6- 0 0 6 9 0 5
12
                           Plaintiff,
13                                                           CERTIFICATE OF
14     vs.                                                    ARBITRATION

15     FIRSTBANK OF ARIZONA INC
16
                            Defendant.
17
18
             The above cause is not subject to compulsory arbitration.
19
20           RESPECTFULLY SUBMITTED this Friday, June 3, 2016.
21

22
                                               Peter Strojnik, State Bar No 6464
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Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 21 of 48
Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 22 of 48
Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 23 of 48
Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 24 of 48
Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 25 of 48
Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 26 of 48
               Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 27 of 48

                                                                                                     TIFCKATL A. J£AML3,CL.'-R«
in the Superior Court of the State of Arizona                                                                            ; DEP
 in and For the County of Maricopa                                                                                      i

                                                                  is Interpreter Needed?       0 'Yes [X] NjSji p-n
                                                                  If yes, what language:                        *"
                                                                   Peter Strojnik Esq.               1SJUN-9 PM2=t,6
         CV2016-006905                                      "
                                                                  To the best of my knowledge, all information is true and
(hecscse i jpv          ,                                         correct.


Plaintiffs Attorney     Peter Strojnik Esq.                       Attorney/Pro Per Signature
                                                                  (If no attorney. YOUR signature)
Attorney Bar Number 006464

Plaintiffs Name(s): (List all)        Plaintiffs Address:                                  Phone#:            Email Address:
 Advocates for Individuals with Disabilities, LLC




(List additional plaintiffs on page two and/or attach a separate sheet).

Defendant's Name(s): (List All)
   FIRSTBANK OF ARIZONA INC
(List additional defendants on page two and/or attach a separate sheet)
EMERGENCY ORDER SOUGHT:                    0 Temporary Restraining Order                   0 Provisional Remedy        0OSC
• Election Challenge        0 Employer Sanction       0 Other
                                                                               (Specify)
• RULE 8(i) COMPLEX LITIGATION APPLIES. Rule 8(i) of the Rules of Civil Procedure defines a "Complex Case" as
  civil actions that require continuous judicial management. A typical case involves a large number of witnesses, a
  substantial amount of documentary evidence, and a large number of separately represented parties.
   (Mark appropriate box on page two as to complexity, in addition to the Nature of Action case category.)
• THIS CASE IS ELIGIBLE FOR THE COMMERCIAL COURT UNDER EXPERIMENTAL RULE 8.1. (Maricopa County
   only.) Rule 8.1 defines a commercial case and establishes eligibility criteria for the commercial court. Generally, a
   commercial case primarily involves issues arising from a business contract or business transaction. However,
   consumer transactions are not eligible. A consumer transaction is one that is primarily for personal, family or household,
   purposes.     Please     review      Rule     8.1   for    a      complete       list     of     the     criteria.   See
   http://www.suoeriorcourt.maricopa.qov/commercial-court/- You must check this box if this is an eligible commercial
   case. In addition, mark the appropriate box below in the "Nature of Action" case category. The words
  "commercial court assignment requested" must appear in the caption of the original complaint.

                                                 NATURE OF ACTION
   (Place an "X" next to the one                category that most accurately describes your primary case.)
100 TORT MOTOR VEHICLE:                                                0114   Property Damage
                                                                       0115   Legal Malpractice
0101 Non-Death/Personal Injury
                                                                       0115   Malpractice - Other professional
0102 Property Damage
                                                                       0117   Premises Liability
0103 Wrongful Death
                                                                       0118   Sfander/Libel/Defamation
                                                                       0116   Other (Specify)
110 TORT NON-MOTOR VEHICLE:
                                                                       120 MEDICAL MALPRACTICE:
0111 Negligence
0112 Product Liability - Asbestos
0112 Product Liability-Tobacco                                        0121 Physician M.D.        0123 Hospital
0112 Product Liability - Toxic/Other                                  0122 Physician D.O         0124 Other
0113 IntentionalTort

©Superior Court of Arizona in Maricopa County                   Page 1 of 2                                  CV10f-010116
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             Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 28 of 48
                                                                                         Case No.
130 CONTRACTS:                                                   194 Immigration Enforcement Challenge
                                                                • (§§1-501,1-502,11-1051)
•131 Account (Open or Stated)
•132 Promissory Note
                                                                150-199 UNCLASSIFIED CIVIL:
•133 Foreclosure
Q138 Buyer-Plaintiff                                           • Administrative Review
•139 Fraud                                                       (See lower court appeal cover sheet in Maricopa)
•134 Other Contract (i.e. Breach of Contract)
                                                               •150 Tax Appeal
Q135 Excess Proceeds-Sale
                                                                  (All other tax matters must be filed in the A2 Tax
•Construction Defects (Residential/Commercial)
                                                                  Court)
       •136 Six to Nineteen Structures                         •155 Declaratory Judgment
       •137 Twenty or More Structures                          •157 Habeas Corpus
                                                               •184 Landlord Tenant Dispute- Other
150-199 OTHER CiVBL CASE TYPES:                                •190 Declaration of Factual Innocence
                                                                     (A.R.S. §12-771)
•156 Eminent Domain/Condemnation                               •191 Declaration of Factual Improper Party Status
•151 Eviction Actions (Forcible and Special Detainers)         •193 Vulnerable Adult (A.R.S. §46-451)
•152 Change of Name                                            •165 Tribal Judgment
•153 Transcript of J udgment                                   •167 Structured Settlement (A.R.S. §12-2901)
•154 Foreign Judgment                                          •169 Attorney Conservatorships (State Bar)
•158 Quiet Title                                               •170 Unauthorized Practice of Law (State Bar)
•160 Forfeiture                                                •171 Out-of-State Deposition for Foreign Jurisdiction
•175 Election Challenge                                        •172 Secure Attendance of Prisoner
•179 NCC-Employer Sanction Action                              •173 Assurance of Discontinuance
     (A.R.S. §23-212)                                          •174 In-State Deposition for Foreign Jurisdiction
•180 Injunction against Workplace Harassment                   •176 Eminent Domain- Light Rail Only
•181 Injunction against Harassment                             •177 Interpleader-Automobile Only
•182 Civil Penalty                                             •178 Delayed Birth Certificate (A.R.S. §36-333.03)
•186 Water Rights (Not General Stream Adjudication)            •183 Employment Dispute- Discrimination
•187 Real Property                                             •185 Employment Dispute-Other
• Special Action against Lower Courts                          •195(a) Amendment of Marriage License
   (See lower court appeal cover sheet in Maricopa)            •195(b) Amendment of Birth Certificate
                                                               E§163 Other       Civil Rights
                                                                                                (Specify)


                                            COMPLEXITY 9F THE CASE
                 If you marked the box on page one indicating that Complex Litigation applies, place an "X" in the box
                 of no less than one of the following:
                    Antitrust/Trade Regulation
                    Construction Defect with many parties or structures
•                   Mass Tort
                    Securities Litigation with
•                   many parties
•                   Environmental Toxic
•                   Tort with many parties
•                   Class Action Claims
                    Insurance Coverage Claims arising from the above-listed case types
                    A Complex Case as defined by Rule 8(i) ARCP

                 Additional Plaintiff(s)




                 Additional Defendant(s)




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                       Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 29 of 48

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... M
PeterStrojnik,
Stfojnik.jP.C:
                                                                  ICHA£L^- JEANES, Clerk
                                                                MICH,
40;Nbrth Central Ave                                           By
                                                                  TT Q^r^rdson. Deputy
Phoenix! AZ 85004                                                                                                            DyA2016006184l
(774)-768-2234

                       nUlClNAL        !N   THE SUPERIOR COURTiOF THE;STATE,0F:A RIZONA,
                       VkUWWM                  IW ANDiFOR THE COUNT^-'OE IVlARiCdPA j:'
                                                                                                                I.;

ADVOCATES. FOR INDIVIDUALS WITH DISABILITIES                                             ;Case Number: CV2016-006905'
FOUNDATION; INC.                                                                                  . tf
                                                           Plaintiff,-                   •AFFIDAVIT-OF.SERVICE:
         fell
         g!            vs.                                                                                      ii
 .                 .   _
FIRSTBANK OF ARIZONA INC
                                                       Defendanb
     P
    If
Received by Rush Hour Legal Service bn the.3rd.day of,August, 2016 at 1:4Cf pm to be served ori FIRSTBANK OF ARIZONA INC C/O
JEFFREY ASHER^ 12M5 W COLFAX AVE, LAKEWOOD; Jefferson County.'CO 802154 S
• . Hi.                     , •                                                     f
j; Justin DelRosario, be^-duly'swomir^os^ancj.sav^that-qn the"<3rd day of August.2pj!6 at 2:47 pm;.t:

 served! CORPORATION.by delivedng a true copy ofthe SUMMONS, VERIFIED COMPLAINT, CERTIFICATE OF ARBITRATION,
 bi^CO>MRy^REQUiEST NO. i >tq: LARRY NOE as INCIDENT RESron@EC.OORDINATO|^ia^6iiz^ to acceptseiviceat'the
.addressjof:-12345i:W COLFAX AVE, LAKEWOOD, Jefferson County,.CO 80215r!and'informed said person of-the contents%ereinin
 compliance'withstate statutes.                                        "
;        y -"                                                                                                    If
Description W.Rereor^Se^.ed:;Age:f51, Sex: M; Rac^SkinlCblpf: yYHlTE.|Height76'2".,Vyelght: 230; HairiSACT&.PERPER,.GIasses:


I declare under oath' that:l am,18 years or.older and.not a party,to the:action.,




                                                                                                  ,Ju:      _
                                                                                                  'Process'Server
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:Subscribed!ahd;Swbm tb'rne ihiperiyer County, State of
'Colorado onitlie 3rd day,of August,.2016.                                                        :Rush:Hour Legal Service
                                                                                                   Po Box 30997
                                                                                                  iMesa.AZ'85275-0997
                                                                                                   (480) -797r9483
NOTARY PUBLIC'-
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     ^   I-F FVVEC G SULKY,:   "
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     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 PageMichael
                                                             30 ofK48
                                                                    Jeanes, Clerk of Co'
                                                                          *** Electronically Filed ***
                                                                               C. Gray, Deputy
                                                                            7/28/2016 4:22:00 PM
                                                                              Filing ID 7606184

      Peter Strojnik, State Bar No. 6464
 1    STROJNIK P.C.
      1 East Washington St.
 2    Suite 500
      Phoenix, AZ 85004
 3    (774) 768-2234
 4    Attorney for Plaintiffs
      Case Specific Email Address:
 5    2425SGILBERTRD@aadi.org

 6

 7               IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                       IN AND FOR THE COUNTY OF MARICOPA
 9
10    Advocates for Individuals with Disabilities    Case No: CV2016-006905
      Foundation, Inc.
11                                                       PLAINTIFF'S NOTICE OF
                           Plaintiff,                          ERRATA
12
13
      vs.                                            (Assigned to the Honorable Patricia Starr)
14
15    FIRSTBANK OF ARIZONA INC
                     Defendants.
16
17
18          Plaintiff, Advocates for Individuals with Disabilities Foundation, Inc., by and
19    through counsel, hereby file their Notice of Errata regarding Plaintiffs Verified
20
      Complaint. This Notice of Errata is being filed to correct certain typographical or other
21
      errors contained in the Verified Complaint and to attach Plaintiffs First Amended Verified
22
23    Complaint, which is attached as Exhibit A.
24
      RESPECTFULLY SUBMITTED this Friday, My 22, 2016
25
26
27                                                           Peter Strojnik, Esq.
                                                             Attorney for Plaintiffs
28
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 31 of 48




     Peter Strojnik, State Bar No. 6464
 1
     STROJNIK P.C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774) 768-2234
4    Attorney for Plaintiff
     Case Specific Email Address:
 5   2425SGILBERTRD@aid.org
 6
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 7
                         IN AND FOR THE COUNTY OF MARICOPA
 8
 9    ADVOCATES FOR INDIVIDUALS
      WITH DISABILITIES FOUNDATION,                      Case No: CV2016-006905
10
      INC., a charitable non-profit foundation,
11
                             Plaintiff,                        FIRST AMENDED
12                                                           VERIFIED COMPLAINT
13
      vs.
14
      FIRSTBANK OF ARIZONA INC;
15

16                           Defendant.

17          Plaintiff alleges:

18                                                PARTIES
       1.   Plaintiff,   Advocates        for   Individuals with   Disabilities   Foundation,   Inc.
19
            ("Foundation") is a non-profit charitable foundation and performs the functions of
20
            a traditional association representing individuals with disabilities.               See
21
            www, aid, org.
22
       2.   Defendant, FIRSTBANK OF ARIZONA INC, owns and/or operates a business
23          located at 2425 S Gilbert RD Gilbert AZ 85295 which is a place of Public
24          Accommodation pursuant to 42 U.S.C. § 12181(7).
25
26
                                          INTRODUCTION
27     3.   Plaintiff brings this action against Defendant, alleging violations of Title EI of the

28          Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., (the "ADA") and its
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 32 of 48




            implementing regulations and A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et
 1
            seq. and its implementing regulations, R10-3-401 et seq. (the "AzDA")
 2
       4.   Plaintiff is a charitable non-profit foundation. Plaintiff is known to have past,
 3
            present and future relationships or associations with individuals with disabilities as
 4
            defined in 28 CFR § 36.205. In connection with 28 CFR §36.205, and generally
 5
            relating to third-party standing, Plaintiff alleges:
 6
            a.    Plaintiff has a close relationship with former, current and future disabled
 7                individuals who are directly protected by the ADA as discrete and insular
 8                minorities. See, e.g., www.aid.org.
 9           b.   Plaintiffs association with former, current and future disabled individuals
10                arises from Plaintiffs charitable acts of giving to the disabled community,
11                which are interests that are germane to the association's purpose.

12          c.    Plaintiffs close relationship to the third party disabled individuals is such

13                that a third party disabled individuals cannot be reasonably expected to
                  properly frame the issues and present them with the necessary adversarial
14
                  zeal to the Court. Third party disabled individuals are hindered to litigate by
15
                  virtue of their status as minors and/or their lack of mobility and/or financial
16
                  resources.
17
            d.    David Ritzenthaler is a member of the Foundation by virtue of being
18
                  President, Director and Chairman and suffers from disability as this term is
19
                  defined in A.R.S. §41-1492(6) and interpreted pursuant to A.R.S. §41-
20
                  1492.12.
21          e.    Because only injunctive and declaratory relief is requested, participation in
22                the action by individual disabled individuals is not required.
23     5.   Plaintiff brings this civil rights action against Defendant for failing to design,
24          construct, and/or own or operate Public Accommodations that are fully accessible
25          to, and independently usable by, individuals with disabilities. Plaintiff seeks a

26          declaration that Defendant's Public Accommodation violates federal and state law

27          and an injunction requiring Defendant to install means of access in compliance

28          with ADA requirements so that their facility is fully accessible to, and independent
                                             2
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 33 of 48




             usable by, individuals with disabilities. Plaintiff further requests that, given
 1
             Defendant's historical failure to comply with the ADA's mandate, the Court retain
 2
             jurisdiction of this matter for a period to be determined to ensure that Defendant
 3
             comes into compliance with the relevant requirements of the ADA and AzDAA,
 4
             and to ensure that Defendant has adopted and is following an institutional policy
 5
             that will, in fact, cause Defendant to remain in compliance with the law.
 6
       6.    In compliance with R10-3-405(H)(l), Plaintiffs address is 40 North Central
 7           Avenue, Suite 1400, Phoenix, Arizona 85004
 8                                   JURISDICTION AND VENUE
 9     7. This Court has original jurisdiction over the AzDA claims by virtue of A.R.S. §§12-
10          123 and 41-1492.8 and concurrent jurisdiction over the ADA claims by virtue of
11          A.R.S. § 12-123 and Article 6, Section 14(1) of the Arizona Constitution gives the

12          superior court original jurisdiction of "[cjases and proceedings in which exclusive

13          jurisdiction is not vested by law in another court."

14                 THE ADA AND ITS IMPLEMENTING REGULATIONS
15      8. On July 26, 1990, President George H.W. Bush signed into law the ADA, a
             comprehensive civil rights law prohibiting discrimination on the basis of
16
             disability.
17
        9. The ADA broadly protects the rights of individuals with disabilities in
18
             employment, access to State and local government services, places of Public
19
             Accommodation, transportation, and other important areas of American life.
20
        10. Title III of the ADA prohibits discrimination in the activities of places of Public
21
             Accommodation and requires places of Public Accommodation to comply with
22           ADA standards and to be readily accessible, and independently usable by,
23           individuals with disabilities. 42 U.S.C. §§ 12181-89.
24      11. Title III states, inter alia, that "[i]t shall be discriminatory to afford an individual
25           or class of individuals, on the basis of a disability . . . with the opportunity to
26           participate in or benefit from a good, service, facility, privilege, advantage, or

27           accommodation that is not equal to that afforded to other individuals." See 42

28           U.S.C.        §12182(b)(1)(A)(ii).    In   addition,    §12182(b)(1 )(A)(iii)      and
                                                  3
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 34 of 48




           §12182(b)(1)(B)] are intended to prohibit exclusion and segregation of individuals
 1
           with disabilities and the denial of equal opportunities enjoyed by others, based on,
2
           among other things, presumptions, patronizing attitudes, fears, and stereotypes
3
           about individuals with disabilities. 28 C.F.R. pt. 36, app. C (2011).
4
        12. On July 26, 1991, the Department of Justice ("DOJ") issued rules implementing
5
           Title III of the ADA, which are codified at 28 CFR Part 36.
6
        13. Appendix A of the 1991 Title III regulations (republished as Appendix D to 28
 7         CFR part 36) contains the ADA standards for Accessible Design (1991 Standards),
8          which were based upon the Americans with Disabilities Act Accessibility
9          Guidelines (1991 ADAAG) published by the Access Board on the same date.
10      14. In 1994, the Access Board began the process of updating the 1991 ADAAG by

11         establishing a committee composed of members of the design and construction

12         industries, the building code community, and State and local governmental

13         entities, as well as individuals with disabilities.
        15. In 1999, based largely on the report and recommendations of the advisory
14
           committee, the Access Board issued a notice of proposed rulemaking to update
15
           and revise its ADA and ABA Accessibility Guidelines.
16
        16. The Access Board issued final publication of revisions to the 1991 ADAAG on
17
           July 23, 2004 ("2004 ADAAG").
18
        17. On September 30, 2004, the DOJ issued an advanced notice of proposed
19
           rulemaking to begin the process of adopting the 2004 ADAAG.
20
        18. On June 17, 2008, the DOJ published a notice of proposed rulemaking covering
21         Title m of the ADA.
22      19. The long-contemplated revisions to the 1991 ADAAG culminated with the DOJ's
23         issuance of The 2010 Standards for Accessible Design ("2010 Standards"). The
24         DOJ published the Final Rule detailing the 2010 Standards on September 15,
25         2010. The 2010 Standards consist of the 2004 ADAAG and the requirements

26         contained in subpart D of 28 CFR part 36.

27                  THE AzDA AND ITS IMPLEMENTING REGULATIONS
28
                                                4
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 35 of 48




        20. The AzDA and its implementing regulations, §§41-1492 et seq. and R10-3-401 et
 1
           seq. provide similar prohibitions and remedies to the ADA and its implementing
 2
           regulations.
 3

 4                      ALLEGATIONS COMMON TO ALL COUNTS
        21.Pursuant to CFR 36-302(l)(ii) and otherwise, on or about 4/11/2016, Plaintiff,
5
           who is known to have a relationship or association with individuals with
6
           disabilities and directed by David Ritzenthaler, an individual with disabilities,
 7
           conducted an investigation of Defendant's Public Accommodation for purposes
 8         of ascertaining whether it complies with the ADA and AzDA. Plaintiffs
 9         investigation confirmed that Defendant's Public Accommodation was not
10         accessible to individuals with disabilities in the following particulars:
11           1. Violation of the 2010 ADA Standards of Accessibility Design §§216.5 and
12           502.6 in that it fails to identify van parking spaces by the designation "van

13           accessible" and or fails to maintain the minimum height of 60 inches (1525 mm)

14           above the finish floor or ground surface measured to the bottom of the sign

15         Plaintiff has actual knowledge of at least one barrier related to third party disabled
           individuals as indicated in the preceding allegation. Therefore, third party
16
           individuals with disabilities, including current and future members of the
17
           association    are   currently   deterred   from    visiting   Defendant's     Public
18
           Accommodation by accessibility barrier(s).
19
        22. Without the presence of adequate and or accessible parking spaces, sufficient
20
           designation or signage and or sufficient disbursement of such parking spaces, third
21
           party individuals with disabilities, including members of the Foundation, are
22         prevented from equal enjoyment of the Defendant's Public Accommodation.
23      23. As a result of Defendant's non-compliance with the AzDA and the ADA, third
24         party individuals with disabilities, including members of the Foundation, are
25         deterred from visiting Defendant's Public Accommodation in the future unless and
26         until all AzDA and ADA violations have been cured.

27

                                              5
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 36 of 48




        24. The existence of barriers deters third party individuals with disabilities, including
 1
           members of the Foundation, from conducting business or returning to Defendant's
 2
 o
           Public Accommodation.
 3
        25. As a result of Defendant's non-compliance with the ADA and AzDA, third party
4
           disabled individuals, including members of the Foundation, unlike persons
 5
           without disabilities, are denied equal access.
6
        26. Plaintiff verified that Defendant's Public Accommodation lacks the mandator}'
 7         elements required by the 2010 Standards to make their facility fully accessible to
 8         and independently usable by individuals with disabilities, including members of
 9         the Foundation.
10      27. Plaintiff has a keen interest in whether Public Accommodations are fully

11         accessible to, and independently usable by, individuals with disabilities, including

12         members of the Foundation, specifically including an interest in ensuring that

13         parking spaces comply with the 2010 Standards.
        28. Third party disabled individuals have been injured by Defendant's discriminatory
14
           practices and failure to remove architectural barriers to equal access. These
15
           injuries include being deterred from using Defendant's facilities due to the
16
           inaccessibility and/or insufficient designation of appropriate parking .
17
        29. Without injunctive relief, Plaintiff and individuals with disabilities, including
18
           members of the Foundation, will continue to be denied equal access and unable to
19
           independently use Defendant's Public Accommodation under ADA and AzDA.
20
                                              COUNT ONE
21                       (Violation of Title III of ADA and Title 41 of AzDA)

22      30. Plaintiff incorporates all allegations heretofore set forth.

23      31. Defendant has discriminated against third party individuals with disabilities,

24         including members of the Foundation, in that it has failed to make its Public
           Accommodation fully accessible to, and independently usable by, individuals who
25
           are disabled in violation of AzDA, Article 8, Chapter 10 of Title 41 of the Arizona
26
           Revised Statutes, A.R.S. §§ 41-1492 et seq. and its implementing regulations,
27
           R10-3-401 et seq. and the ADA, Title III of the Americans with Disabilities Act,
28
                                                6
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 37 of 48




             42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101
 1
             et seq.
 2
          32. Defendant has discriminated against third party individuals with disabilities,
 3
             including members of the Foundation, in that it has failed to remove architectural
 4
             barriers to make its Public Accommodation fully accessible to, and independently
 5
             usable by individuals who are disabled in violation of the AzDA and the ADA
 6
             and, particularly, 42 U.S.C. §12182(b)(A)(iv) and Section 208.2 of the 2010
 7           Standards, as described above. Compliance with the requirements of section 208.2
 8           of the 2010 Standards would neither fundamentally alter the nature of Defendant's
 9           Public Accommodation nor result in an undue burden to Defendant.
10        33. Compliance with AzDA and the ADA is readily achievable by the Defendant due
11           to the low costs. Readily achievable means that providing access is easily

12           accomplishable without significant difficulty or expense .

13        34. Conversely, the cessation of compliance with the ADA law is also readily
             achievable by redrawing the parking spaces to its original configuration and or
14
             changing signage back to the same. Therefore, injunctive relief should issue
15
             irrespective of Defendant's potential voluntary cessation pursuant to the Supreme
16
             Court's announcement in Friends of the Earth case23.
17
          35.Defendant's conduct is ongoing, Plaintiff invokes Plaintiffs statutory right to
18
             declaratory and injunctive relief, as well as costs and attorneys' fees, both pursuant
19
             to statute and pursuant to the Private Attorney General doctrine .
20

21
22   25 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
23   693, 145 L.Ed.2d 610 (2000):
             It is well settled that a defendant's voluntary cessation of a challenged practice does not
24           deprive a federal court of its power to determine the legality of the practice. If it did, the
             courts would be compelled to leave the defendant free to return to his old ways. In
25
             accordance with this principle, the standard we have announced for determining whether a
26           case has been mooted by the defendant's voluntary conduct is stringent: A case might
             become moot if subsequent events made it absolutely clear that the allegedly wrongful
27           behavior could not reasonably be expected to recur. The heavy burden of persuading the
             court that the challenged conduct cannot reasonably be expected to start up again lies with
28           the party asserting mootness.
                                                      7
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 38 of 48




        36. Without the requested injunctive relief, specifically including the request that the
 1
           Court retain jurisdiction of this matter for a period to be determined after the
 2
           Defendant certifies that it is fully in compliance with the mandatory requirements
 3
           of the A/DA and ADA that are discussed above, Defendant's non-compliance
 4
           with the A/DA and ADA's mandatory requirements may be or are likely to recur.
 5
                                            COUNT TWO
 6             (Violation A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et seq. AND
                                     Implementing Regulations)
 7
 8      37. Plaintiff realleges all allegations heretofore set forth.
 9      38. Plaintiff and third party individuals with disabilities, including members of the
10         Foundation, have been damaged and injured by the Defendant's non-compliance

11         with the AzDA.

12      39.Pursuant to A.R.S. § 41-1492.08, and §41-1492.09, Plaintiff has the right to

13         enforce the A/DA by the issuance of injunctive relief.
        40. Pursuant to A.R.S. § 41-1492.08, Plaintiff is entitled to preventive and mandatory
14
           relief.
15
        41. Mandatory relief includes relief mandated by A.R.S. § 41-1492.09 obligating the
16
           Office of the Attorney General to take actions specified therein.
17
        42. Pursuant to A.R.S. § 41-1492.09(B)(2), Plaintiff is further entitled to such other
18
           relief as the Court considers appropriate, including monetary damages in an
19
           amount to be proven at trial, but in no event less than $5,000.00.
20
        43. Pursuant to A.R.S. § 41-1492.09(F), Plaintiff is entitled to attorney's fees and costs
21         in an amount proven but in no event less than $5,000.00.
22                                        PRA YER FOR RELIEF
23         WHEREFORE, Plaintiff demands judgment against Defendant as follows:
24           a. A Declaratory Judgment that at the commencement of this action Defendant
25               was in violation of the specific requirements of Title III of the ADA described

26               above, and the relevant implementing regulations of the ADA, in that

27               Defendant took no action that was reasonably calculated to ensure that its

28
                                                8
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 39 of 48




               Public Accommodation was fully accessible to, and independently usable by,
 1
               individuals with disabilities;
 2
            b. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 3
               applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and
 4
               28 CFR § 36.504(a), which directs Defendant to take all steps necessary to
 5
               bring its Public Accommodation into full compliance with the requirements
 6
               set forth in the ADA and its implementing regulations, so that the facility is
 7             fully accessible to, and independently usable by, individuals with disabilities,
 8             including members of the Foundation, specifically Sections 208.2 of the 2010
 9             Standards, and which further directs that the Court shall retain jurisdiction
10             for a period to be determined after Defendant certifies that its facility is fully
11             in compliance with the relevant requirements of the ADA to ensure that

12             Defendant has adopted and is following an institutional policy that will in

13             fact cause Defendant to remain fully in compliance with the law;

14          c. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
               applicable, payment of costs of suit, expenses of suit and attorney's fees;
15
            d. Order closure of the Defendant's place of Public Accommodation until
16
               Defendant has fully complied with the ADA and AzDA;
17
            e. A Declaratory Judgment that at the commencement of this action Defendant
18
               was in violation of the specific requirements of AzDA;
19
            f. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
20
               applicable, a permanent injunction pursuant to AzDA which directs
21             Defendant to take all steps necessary to bring its facility into full compliance
22             with the requirements set forth in the AzDA, and its implementing
23             regulations, so that the facility is fully accessible to, and independently
24             usable by individuals with disabilities, including members of the Foundation,
25             specifically including ensuring parking spaces comply with the 2010
26             Standards as required by law, and which further directs that the Court shall

27             retain jurisdiction for a period to be determined after Defendant certifies that

28             its facility is fully in compliance with the relevant requirements of the AzDA
                                               9
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 40 of 48




                   to ensure that Defendant has adopted and is following an institutional policy
 1
                   that will in fact cause Defendant to remain fully in compliance with the law;
 2
              g. For damages authorized by § 41-1492.09(B)(2) in an amount no less than
 3
                   $5,000.00;
 4
              h.   Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 5
                   applicable, payment of attorneys' fees pursuant to 42 U.S.C. § 12205, 28
 6
                   CFR § 36.505 and A.R.S. § 41-1492.09(F) and other principles of law and
 7                 equity and in compliance with the "prevailing party" and "material
 8                 alteration" of the parties' relationship doctrines26 in an amount no less than
 9                 $5,000.00; and,
10            i.   The provision of whatever other relief the Court deems just, equitable and
                   appropriate.
11
                                    DEMAND FOR JURY TRIAL
12
                    Pursuant to Rule 38 of the Arizona Rules of Civil Procedure, Plaintiff
13          hereby demands a jury trial on issues triable by a jury.
14
15          RESPECTFULLY SUBMITTED this Friday, July 22, 2016.
16                                               STROJNDK P.C.
17
                                                 /s/ Peter Stroinik
18                                               Peter Strojnik (6464)
                                                 Attorney for Plaintiff
19
                        VERIFICATION COMPLIANT WITH R10-3-405
20
            I declare under penalty of peijury that the foregoing is true and correct.
21
            DATED this Friday, July 22, 2016.
22
23           isfDavcd
24          By: David Ritzenthaler, Director
            Advocates for Individuals with Disabilities Foundation, Inc.n
25
26
27   26As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-1813 JGB (RNBx)
     (February, 2015)
28
                                               10
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 41 of 48




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11
                                     EXHIBIT 1
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                        Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 42 of 48

T,S, Bepairnrmt of Justice
Ciril Siscts Dixiaoxi
DtsasiHsr Safe; Sscaas


       Americans with Disabilities Act

ADA Business BRIEF:
                                      Restriplng Parking Lots
     Accessible Parking Spaces
    When a business restripes a parting lot. it must provide accessible
    parting spaces as required by the ADA Standards &r Accessible Design.

    In addition, bt^isesses or pninately otsrned facilities titat provddegcods or
    services to the public hare a • corrttrrrong ADA obligation to remove
    barriers to access in. existing parting lots when it is readily achievable to
    do so. Because testhprng is relatrvelv- inespensrre, it is readily
                                                                                                      '     "         - risF
    achievable in most cases.
                                                                                           One of eight accessible parking
    Tlfe ADABnskiffis Brief provides key mfbrmatkm about now to create                     spaces, but always at least one,
    accessible car and van spaces and bow many spaces to provide when                          must be van accessible.
    parMng lots are restriped:


Accessible Parking Spaces
for Cars
                                                     Minimum Number of Accessible Parking Spaces
Accessible parking spaces for ears
                                                             ADA Standardsfor Accessible Design 4.12 {5}
have at least a dO-inci-wide access
aisle located adjacent to cbe
designated parting space. The.              Total-Number         Total Minimum         Van-Accessible              Accessible
access aisle is jtsst wide enough to         of Padding            Number c#           Parking Spaces              Parking
permit a person using a wheelchair to          SpSIGfi'S           Accessible           with min. SS"            Spaces with
enter or exit the car. These parting,          Provided          Parking-Spaces         wide access              min. 60" wide
spaces are identified with a sign and
                                               {per lot)        {60" & 96" aisles)          aisle:               access aisle
located on level ground.                                            lofumn A
Van-Accessible Parking Spaces               1 ID 25­                    1
Van-accessible parking spaces are the       26 to 50
same as accessible parting spaces for       51 to 75
cars- except for three features needed      76 to 100
                                            101 ED 150
fox vans;
                                            151 to 200
                                            201 to 300
m    a wider access aisle (96") to          301 to 400                  8-
     accommodate a wheelchair lift;         401 to- 500
                                            501 to 1000             2% of total
•    vertical clearance to accofmmo-                             narking provided      1/8 of Cotumn A*         7/S of Column A"
     date van height at the van park­                               in'each lot
     ing space, the adjacent access         1.0S1 and over         20 plus1for
     aisle, and on the vehicular route                               each TOO          1/8 of Column A"         7/8 of Colu mn: A"
     to^ and from the van-accessible                                over 1000
     space, and
                                              " one out of every S accessible spaces    " 7 out of every 8 accessible- parking spaces
B    an addidcaial sign that identifies
     the parking spaces m "van
     accessible."                                                                                                        October 2001




                   I!
              II Case   2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 43 of 48                                                 I


Location                                   Features of Accessible Parking Spaces for Cars
Accessible parking spaces must be
located on fee shortest accessible
                                                    — Sign with the irftemstf oral symbol of accessibility mounted high
                                                      enough so it can" be seen while a vehicle Is parked in the space.
route of travel to an accessible
facility 'entrance. Where braidings                   r   if the accessible route is located in front of the space, install
have multiple accessible entrances                        wheelstaps to keep vehicles from educing width below 36 inches.
wife adjacent parting, fee accessible
parting spaces must be dispersed and                   accessible pact* fnin. 3E4ndi wnatij
located closest to' fee accessible                                                      r- Access aisle of at least SG-inch width
                                                        •                  a_a_BB
entrances.                                                  «
                                                                                    | must be level (1:50 maximum slope
                                                                                      In all directions}, be the same length
When accessible parking spaces are                                                    as the a djacent parking spacers} it
added in an easting parking lot,                                                      serves and must connect to an
locate the spaces on fee most level                                                   accessible route to the bundling.
ground close to the accessible en­                                                    Ramps must not extend into- the
trance. An accessible route must
                                                                                      access aisle.
always he provided from, fee acces­                                                    Boundary of the access aMe must be

                                                     I
sible parking to the accessible                                                        marked. The end may be a squared or
 entrance. An accessible route never                            be»1
                                                                                       curved shape.          - •
has curbs or stairs, must be at least 3-
feet wide, and has a fitm, stable, slip-         96"' rnifi SO" rniri, 96" min.     '— Two parking spaces may share an
                                            -V                                         access aisle.
resistant surface. The slope along fee            2440          1E2E- '      2440
 accessible route should not be greater
than 1:12 in fee direction of travel.      Three Additional Features for Van-Accessible Parking Spaces
                                                          Sign with "van accessible" and the international symbol of
Accessible parking spaces may be                          accessibility mounted high enough so the sign can be seen
clustered in one or more lots if                          when a vehicle is parked In the space
equivalent or greater accessibility'is                       accessible fotrte
provided in terms of distance from                     I H I B.»l
fee accessible entrance, parking fees,                        M:: ; : . : :M
                                                            ' est;;;:;ssi
and convenience. Van-accessible                               m:       " 'w
parking spaces located in parking                                        I,-           96" min. width access aisle, level
                                                                                       (max. slope 1:50 in all directions},
garages may be clustered on one floor
                                                                                       located beside the van parking space
(to accommodate fee 98-inek mini­
mum vertical height requirement).

                                                           IS
                                                                                       Win. 98-inch-high clearance at van
                                                                                       parking space, access aisle, and on
Free Technical Assistance                                       4r.vjr.zv. :r%         vehicular route to and from van space
Answers to technical and general
questions abort restriping parking
lots orofeer ADAieqniierrtents: are             95" min. 1, 95" min. i, 96" min
available by telephone on weekdays.          Tf1                   -7-
                                                 2440        2440        2440'
You may also order fee ADA
Standards' f or Accessible Design and
ofeer ADA publications, inclnfeng          ADA Website and ADA. Business Connection
regulations for private businesses, at     You may also view or download ADAiifeomiatioii on fee Department's ADA
any time day oar night InfoimatioE.        tve'bsite asany time. The site provides access to .fee ADA Basmess
about ADA-related IRS tax credits          CoimectioB. and the ADA design standards. ADA regulations, ADA.policy
and deductions is also available from      letters, technical assistance materials-, and generalADA infiranatina. It also
the.ADA laformafion line.                  provides links to other Federal agencies,, and updates on newADA require­
                                           ments. and enforcement efforts, www.usdoj.gov/crt/ada/adahom1iltm
       Department of Justice
     ADA Information Line                  Reference:
                                           ADA Standards for Accessible Design (23 CFR Part 36):
      SO 0-514-0:301 (voice}               § 4.1.6 Alterations; § 4.1.2 Accessible Sites and.Exterior.Facilities: New
       800-514-0383 (TTY)
                                               Ccnsfrocfion; § 4.6.1 Parting and Passenger Loading Zones, and
page 2 of 2                                § 43 Accessible Route.                                  Duplication is encouraged.
     Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 44 of 48




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13                                   EXHIBIT 2
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            IICase          2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 45 of 48




U.S. Department of Justice
Civil Rights Division

Disability Rights Section



                                     Americans with Disabilities Act

                                    ADA Compliance BRIEF:
                                                           Restriping Parking Spaces

Accessible Parking Spaces
When a business or State or local government restripes parking spaces in a parking lot or parking structure (parking
facilities), it must provide accessible parking spaces as required by the 2010 ADA Standards for Accessible Design
(2010 Standards).

In addition, businesses or privately owned facilities that provide goods or services to the public have a continuing
ADA obligation to remove barriers to access in existing parking facilities when it is readily achievable to do so.
Because restriping is relatively inexpensive, it is readily achievable in most cases. State and local government facilities
also have an ongoing ADA obligation to make their programs accessible, which can require providing accessible
parking.

This compliance brief provides information about the features of accessible car and van parking spaces and how
many accessible spaces are required when parking facilities are restriped.

                                                                Minimum Number of Accessible Parking Spaces
                 I W I'T)    !<!•                                         2010 Standards (208.2)

                                                             Total Number of          (Column A)        Mininum Number
                                                             Parking Spaces        Minimum Num­         of Van-Accessible
                                                                Provided in        ber of Accessible     Parking Spaces
                                                              Parking Facility      Parking Spaces           (1 of six
                                                                (per facility)       (car and van)      accessible spaces)

                                                                  1 to 25                 1                     1
                                                                 26 to 50                 2                     1
       One of six accessible parking spaces,
                                                                 51 to 75                 3                     1
             but always at least one,
             must be van-accessible.                            76 to 100                 4                     1
                                                                101 to 150                5                     1
The required number of accessible parking spaces
                                                                151 to 200                6                     1
must be calculated separately for each parking
facility, not calculated based on the total number              201 to 300                7                     2
of parking spaces provided on a site. One of six                301 to 400                8                     2
(or fraction of six) accessible parking spaces, but
                                                                401 to 500                9                     2
always at least one, must be van accessible.
                                                                                 2% of total parking
                                                               500 to 1000       provided in each lot   1/6 of Column A*
Parking for hospital outpatient facilities,
                                                                                     or structure
rehabilitation facilities, outpatient physical therapy
                                                                                  20 plus 1 for each
facilities or residential facilities have substantially       1001 and over                             1/6 of Column A*
                                                                                   100 over 1000
different requirements for accessibility (see 2010
                                                          *one out of every 6 accessible spaces
Standards 208.2).
     IICase    2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 46 of 48




 Location                            Features of Accessible Parking Spaces
  Accessible parking spaces
: m.ust be located on the                        — Parking space identification sign with the international
  shortest accessible route of                     symbol of accessibility complying with 703.7.2.1 mounted
. travel to an accessible facility                 60 inches minimum above the ground surface measured to
  entrance. Where buildings                        the bottom of the sign.
i have multiple accessible
: entrances with adjacent park­                   r-   If the accessible route is located in front of the parking
  ing, the accessible parking                          space, install wheel stops to keep vehicles from reducing
j spaces must be dispersed and                         the clear width of the accessible route below 36 inches.
  located closest to the acces­
  sible entrances.                                         r Two parking spaces may share an access aisle
                                                             except for angled parking spaces (see below).
  When accessible parking
  spaces are added in an exist-                             - Access aisle width is at least 60 inches, must be at
i ing parking lot or structure,                               the same level and the same length as the adjacent
  locate the spaces on the                                    parking space(s) it serves, maximum slope in all
  most level ground close to                                  directions is 1:48, and access aisle must connect to
  die accessible entrance. An                                 an accessible route to the building. Ramps must
  accessible route .must always                               not extend into the access aisle.
  be provided from the acces-
j sible parking to the accessible                              accessible route
  entrance. An accessible route
! never has curbs or stairs,
; must be at least 3 feet wide,                                                        Parking space shall be 96
  and has a firm, stable, slip-                                                        inches wide minimum,
  resistant surface. The slope                                                         marked to define the
  along the accessible route                                                           width, and maximum slope
  should not be greater than                                                           in all directions is 1:48.
  1:12 in the direction of travel.

  Accessible parking spaces                                                            Boundary of the access
  may be clustered in one or                                                           aisle must be clearly
  more facilities if equivalent                                                        marked so as to discour­
  or greater accessibility is                                                          age parking in it. (State
  provided in terms of distance              96"rnin      ,60"min     96"min           or local laws may address
  from the accessible entrance,               2440          1525-      2440            the color and manner that
  parking fees, and conve­                                                             parking spaces and access
                                     Accessible Parking Spaces with 60-inch            aisles are marked.)
  nience. Van-accessible park­
                                      Minimum Width Access Aisle for Cars
  ing spaces located in parking
  garages may be clustered on
                                     Additional Notes:
  one floor (to accommodate
                                     Where parking spaces are marked with lines, width measurements of
I the 98-inch minimum vertical
                                     parking spaces and access aisles are to centerlines, except for the end
  height requirement).
                                     space which may include the full width of the line.

                                     Access aisles may be located on either side of the parking space except
                                     for angled van parking spaces which must have access aisles located on
                                     the passenger side of the parking spaces.
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            Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 47 of 48




Additional Features of Van-Accessible Parking Spaces

Van-accessible parking spaces incorporate the features of accessible parking spaces on the previous page
and require the following additional features: a "van accessible" designation on the sign; different widths
for the van parking space or the access aisle; and at least 98 inches of vertical clearance for the van parking
space, access aisle, and vehicular route to and from the van-accessible space. The first image below shows a
van-accessible space with a 60-inch minimum width access aisle. The second image shows a van-accessible
space with a 96-inch minimum width access aisle. Both configurations are permitted and requirements for
van-accessible signage and vertical clearance apply to both configurations.


                                                     • Parking space identification sign with the interna­
                                                       tional symbol of accessibility and designation, "van
                                                       accessible." Note, where four or fewer parking
                                                       spaces are provided on a site, a sign identifying the
                                                       accessible space, which must be van-accessible, is
                                                       not required.


                                                     • Vertical clearance of 98 inches minimum to accom­
                <r          T                          modate van height at the vehicle parking space, the
                                                       adjacent access aisle, and on the vehicular route to and
                                                       from the van-accessible space.

 .Vehicle
  Route
                 Van                     Car           Van parking space must be 132 inches wide minimum
                132"min    ,60"min /   96"min          with an adjacent 60-inch wide minimum access aisle.
       /                                       /
   /              3350    / 1525        2440 /         A van parking space of 96 inches wide minimum with
                                                       an adjacent 96-inch wide minimum access aisle is also
        Van-Accessibie Parking Space with
                                                       permitted (see below).
       60-inch Minimum Width Access Aisle




           96"min         96"min       96"min                 Where four or fewer parking spaces are
            2440           2440    d    2440                 provided on a site, signage identifying the
                                                            van-accessible parking space is not required.
        Van-Accessibie Parking Space with
       96-inch Minimum Width Access Aisle




           II
                Case 2:16-cv-02829-JJT Document 1-1 Filed 08/23/16 Page 48 of 48

7/28/2016                                            Tur boCourt - Legal PaperworkAssistance - Payment Details

  Payment Details
      Filing Type                   General Civil - Superior Court
      Jurisdiction                  Maricopa - Superior Court
      Form Set #                    1879496
      Case #                        CV2016-006905
      Keyword/Matter#
      Submission Name               Advocates For Individuals With Disabilities Founda
      Transaction Date              07/28/2016 4:22 PM MST
      Transaction #                 4VJ0061089921541E
      Payment Status                Paid
      Paid By Credit Card Visa Nickname: AiD
      Service                       e-File



       Provider Fee                                                                          $ 6.00
      Total                                                                                  $ 6.00

       Print Payment Details         Close Window




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